              Case 3:22-cv-05483-TLF Document 2 Filed 07/01/22 Page 1 of 27




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 8                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 9                                         AT TACOMA
10   NATHEN BARTON,
                                                               No.: 3:22-cv-5483
11                             Plaintiff,
                                                               DEFENDANTS’ VERIFICATION OF
12            v.                                               RECORDS AND PROCEEDINGS
13   THE LITIGATION PRACTICE GROUP PC,
     DANIEL S. MARCH, JOHN DOE 1-10,
14
15                             Defendants.

16
17           Pursuant to Local Civil Rule 101, the documents attached as Exhibit A are true and

18   complete copies of all the records filed in the state court action, Case No. 22-2-01281-06 in

19   the Superior Court of Washington for Clark County.

20           DATED this 1st day of July, 2022.
21                                                HILLIS CLARK MARTIN & PETERSON P.S.
22
                                                  By s/ Eric D. Lansverk
23                                                    Eric D. Lansverk, WSBA #17218
                                                      999 Third Avenue, Suite 4600
24                                                    Seattle, WA 98104
                                                      Tel: (206) 623-1745
25                                                    Fax: (206) 623-7789
                                                      eric.lansverk@hcmp.com
26
                                                  Attorneys for Defendant
27
28

     Defendants’ Verification of Records and Proceedings - 1           HILLIS CLARK MARTIN & PETERSON P.S.
     (2-17-cv-1038-RAJ)                                                999 Third Avenue, Suite 4600
                                                                       Seattle, WA 98104
                                                                       Tel: (206) 623-1745
               Case 3:22-cv-05483-TLF Document 2 Filed 07/01/22 Page 2 of 27




 1                                      CERTIFICATE OF SERVICE
 2            The undersigned hereby certifies that the foregoing was served via regular U.S. mail
 3   this 1st day of July, 2022, upon the following:
 4            Nathen Barton
              4618 NW 11th Cir.
 5            Camas, WA 98607
              Pro Se Plaintiff
 6
 7            DATED this 1st day of July, 2022, at Seattle, Washington.

 8
 9                                                       s/ Eric D. Lansverk
                                                         Eric D. Lansverk, WSBA #17218
10                                                       999 Third Avenue, Suite 4600
                                                         Seattle, WA 98104
11                                                       Tel: (206) 623-1745
                                                         Fax: (206) 623-7789
12                                                       eric.lansverk@hcmp.com
13                                                       Attorneys for Defendants
14   ND: 30134.001 4890-3411-3063v1


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     Defendants’ Verification of Records and Proceedings - 2          HILLIS CLARK MARTIN & PETERSON P.S.
     (2-17-cv-1038-RAJ)                                               999 Third Avenue, Suite 4600
                                                                      Seattle, WA 98104
                                                                      Tel: (206) 623-1745
Case 3:22-cv-05483-TLF Document 2 Filed 07/01/22 Page 3 of 27




                    EXHIBIT A
Case 3:22-cv-05483-TLF Document 2 Filed 07/01/22 Page 4 of 27
Case 3:22-cv-05483-TLF Document 2 Filed 07/01/22 Page 5 of 27
Case 3:22-cv-05483-TLF Document 2 Filed 07/01/22 Page 6 of 27
Case 3:22-cv-05483-TLF Document 2 Filed 07/01/22 Page 7 of 27
Case 3:22-cv-05483-TLF Document 2 Filed 07/01/22 Page 8 of 27
Case 3:22-cv-05483-TLF Document 2 Filed 07/01/22 Page 9 of 27
Case 3:22-cv-05483-TLF Document 2 Filed 07/01/22 Page 10 of 27
Case 3:22-cv-05483-TLF Document 2 Filed 07/01/22 Page 11 of 27
Case 3:22-cv-05483-TLF Document 2 Filed 07/01/22 Page 12 of 27
Case 3:22-cv-05483-TLF Document 2 Filed 07/01/22 Page 13 of 27
Case 3:22-cv-05483-TLF Document 2 Filed 07/01/22 Page 14 of 27
Case 3:22-cv-05483-TLF Document 2 Filed 07/01/22 Page 15 of 27
Case 3:22-cv-05483-TLF Document 2 Filed 07/01/22 Page 16 of 27
Case 3:22-cv-05483-TLF Document 2 Filed 07/01/22 Page 17 of 27
Case 3:22-cv-05483-TLF Document 2 Filed 07/01/22 Page 18 of 27
Case 3:22-cv-05483-TLF Document 2 Filed 07/01/22 Page 19 of 27
Case 3:22-cv-05483-TLF Document 2 Filed 07/01/22 Page 20 of 27
Case 3:22-cv-05483-TLF Document 2 Filed 07/01/22 Page 21 of 27
Case 3:22-cv-05483-TLF Document 2 Filed 07/01/22 Page 22 of 27
Case 3:22-cv-05483-TLF Document 2 Filed 07/01/22 Page 23 of 27
Case 3:22-cv-05483-TLF Document 2 Filed 07/01/22 Page 24 of 27
Case 3:22-cv-05483-TLF Document 2 Filed 07/01/22 Page 25 of 27
Case 3:22-cv-05483-TLF Document 2 Filed 07/01/22 Page 26 of 27
Case 3:22-cv-05483-TLF Document 2 Filed 07/01/22 Page 27 of 27
